UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


                                 x
In re PAYMENT CARD INTERCHANGE   : MDL No. 1720(MKB)(JAM)
FEE AND MERCHANT DISCOUNT        :
ANTITRUST LITIGATION             : Civil No. 05-5075(MKB)(JAM)
                                 :
                                 : [PROPOSED] ORDER TO SHOW CAUSE
This Document Relates To:        :
                                 :
         ALL ACTIONS.            :
                                 :
                                 x




4891-6383-4337.v1
           In its August 27, 2024 monthly report (ECF 9399), Rule 23(b)(3) Class Counsel (“Class

Counsel”) reported on an issue related to the law firm Betz & Baril. In the report, Class Counsel

noted a history of problems with the law firm and stated that should additional matters arise, Class

Counsel would likely seek an Order to Show Cause regarding Betz & Baril.

           On September 5, 2024, Class Counsel submitted a letter detailing the history of issues with

the law firm as well as a new matter that recently came to light that involves two other entities,

Certainty Management and LenCred.

           Upon review of the materials submitted by Class Counsel, the Court hereby grants the Order

to Show Cause.
           1.       By September 13, 2024, Betz & Baril shall respond, in writing, as to why it should

not be permanently barred from any settlement-related services in this Action. Further, by

September 13, 2024 Betz & Baril shall explain why the Court should not have all contracts between

class members and Betz & Baril for claims-filing services be cancelled and all class members

notified of such cancellation, at Betz & Baril’s expense. Also by September 13, 2024, Betz & Baril

shall provide a list of all class members that it has signed up through its marketing efforts.

           2.       By September 13, 2024, Certainty Management shall respond, in writing, as to why it

should not be permanently barred from any settlement-related services in this Action and explain

steps it has taken to remove false and/or misleading content from its websites, YouTube channels, or

any other marketing channels, including email marketing. Also by September 13, 2024 Certainty

Management shall provide a list of all class members that it has signed up through its marketing

efforts.

           3.       By September 13, 2024, LenCred shall respond, in writing, as to why it should not be

permanently barred from any settlement-related services in this Action and explain steps it has taken

to remove false and/or misleading content from any websites, YouTube channels, or any other


                                                    -1-
4891-6383-4337.v1
marketing channels, including email marketing. Also by September 13, 2024 LenCred shall provide

a list of all class members that it has signed up through its marketing efforts.

         4.         Class Counsel shall serve this order within 24 hours of entry on Betz & Baril,

LenCred, and Certainty Management via email and any other manner most likely to constitute timely

and effective notice.

         IT IS SO ORDERED.
DATED: _________________________                ____________________________________
                                                THE HONORABLE JOSEPH A. MARUTOLLO
                                                UNITED STATES MAGISTRATE JUDGE




                                                 -2-
4891-6383-4337.v1
